            Case 1:20-cv-10968-AK Document 128 Filed 08/02/22 Page 1 of 5




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

ABRAHAM BARKHORDAR, SARAH ZELASKY,
and ELLA WECHSLER-MATTHAEI, individually
and on behalf of all others similarly situated,                No. 1:20-cv-10968-AK

                           Plaintiffs,                         Hon. Angel Kelley

       v.

PRESIDENT AND FELLOWS OF HARVARD
COLLEGE,

                           Defendant.


    JOINT MOTION FOR PROTECTIVE ORDER AND ORDER REGARDING THE
                PRODUCTION OF DISCOVERY MATERIAL

       Pursuant to Fed. R. Civ. P. 26(c), Plaintiffs Abraham Barkhordar, Sarah Zelasky, and Ella

Wechsler-Matthaei, together with Defendant President and Fellows of Harvard College, jointly

request that this Court enter (i) the attached Proposed Protective Order governing the designation,

use, and disclosure of confidential information in this litigation (attached hereto as Exhibit A), and

(ii) the attached Proposed Order regarding the production of discovery material (attached hereto

as Exhibit B).


Dated: August 2, 2022
                                                  Respectfully submitted,




 By: /s/ Anton Metlitsky__________                 By: /s/ Daniel J. Kurowski_______
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        Case 1:20-cv-10968-AK Document 128 Filed 08/02/22 Page 2 of 5




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Case 1:20-cv-10968-AK Document 128 Filed 08/02/22 Page 3 of 5




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                              3
          Case 1:20-cv-10968-AK Document 128 Filed 08/02/22 Page 4 of 5




               CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1
       I hereby certify that, pursuant to D. Mass. Local Rule 7.1(A)(2), counsel for Defendant

conferred with counsel for Plaintiffs, who join in and assent to the relief requested herein.

                                                     /s/Anton Metlitsky
                                                     Anton Metlitsky




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          Case 1:20-cv-10968-AK Document 128 Filed 08/02/22 Page 5 of 5




                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants on August 2, 2022.


                                                      /s/ Anton Metlitsky
                                                      Anton Metlitsky




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